                 Case 4:95-cr-00123-WTM-CLR Document 1320 Filed 04/08/19 Page 1 of 1
GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B)       Page I of2(Page 2 Not for Public Disclosure)


                                          United States District Court
                                                                         for the

                                                         Southern    District of   Georgia
                                                                 Savannah Division


                       United States of America
                                     V.                                    )
                                                                           ) Case No:           4:95-cr-OOI23-l5
                             Antwan Rivers                                 )
                                                                           ) USMNo: 08932-21
Date of Original Judgment:                          January 9, 1996        )
Date of Previous Amended Judgment: January 9, 2012                         ) Kenneth Marc Barre and John J, Ossick. Jr.
(Use Date ofLast Amended Judgment ifAny)                                         Defendant's Attorney


                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18 U.S.C.§ 3582(c)(1)(B)

          Upon motion of □ the defendant □ the Director of the Bureau of Prisons ^ the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
          □ DENIED. S GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected In
the lastJudgment issued) of  120              months is reduced to               82 months              .
                                                (Complete Farts I and 11 of Page 2 when motion is granted)
In addition to reducing the imprisonment term as noted above, the previously imposed term of supervised release is
reduced to a term of             4        years.
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Except as otherwise provided, all provisions of the judgment dated                         January 9, 1996,       shall remain in effect.
IT IS SO ORDERED.


Order Date:
                                                                                                          Judg^^ignalure

 Effective Date:                                                       William T. Moore, Jr.
                                                                       Judge, U.S. District Court
                        (if different from order date)                                               Printed name and title
